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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR06-106 RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   ROLANDO DEL MUNDO HERNANDEZ, )                   ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An initial hearing on supervised release revocation in this case was scheduled before me

15 on October 14, 2009. The United States was represented by AUSA Jill Otake and the defendant

16 by Allen R. Bentley. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about January 5, 2007 by the Honorable Ricardo S.

18 Martinez on a charge of Conspiracy to Commit Bank Fraud, and sentenced to 8 months custody

19 (30 days in home detention), 5 years supervised release. (Dkt. 229.)

20         The conditions of supervised release included the standard conditions plus the

21 requirements that defendant participate in a drug program, abstain from alcohol, submit to

22 search, pay restitution in the amount of $73,592.13, provide access to financial information,


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 maintain a single checking account for all transactions, disclose any business interests, disclose

02 all assets and liabilities, be prohibited from incurring new lines of credit or obligations, refrain

03 from self-employment or employment by friends or relatives unless pre-approved, obtain

04 approval for all employment, not work for cash, provide verification of pay, and not possess any

05 false identification documents.

06          On January 6, 2009, defendant admitted violating the conditions of supervised release by

07 failing to pay restitution and associating with a person engaged in criminal activity. (Dkt. 353.)

08   Defendant’s supervised release was modified to require participation in a home confinement

09 program with electronic monitoring for 120 days and a prohibition against gambling. (Dkt. 355.)

10          In an application dated September 14, 2009 (Dkt. 359 ), U.S. Probation Officer Michael

11 S. Larsen alleged the following violation of the conditions of supervised release:

12          1.      Using methamphetamine on or about August 9, 2009, in violation of standard

13 condition number 7.

14          Defendant was advised in full as to the charge and as to his constitutional rights.

15          Defendant admitted the alleged violation and waived any evidentiary hearing as to

16 whether it occurred. (Dkt. 361.)

17          I therefore recommend the Court find defendant violated his supervised release as

18 alleged, and that the Court conduct a hearing limited to the issue of disposition. The next

19 hearing will be set before Judge Martinez.

20          Pending a final determination by the Court, defendant has been detained.

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01        DATED this 14th day of October, 2009.



                                           A
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03                                         Mary Alice Theiler
                                           United States Magistrate Judge
04

05 cc:    District Judge:           Honorable Ricardo S. Martinez
          AUSA:                     Jill Otake
          Defendant’s attorney:     Allen R. Bentley
06        Probation officer:        Michael S. Larsen
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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